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                                                                                       July 18, 2017
 VIA ELECTRONIC CASE FILING
 Hon. Vera M. Scanlon, U.S.M.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


             Re: Hamilton v. City of New York et. al., 15-CV-4574 (CBA) (VMS)


 Your Honor:

        I respectfully write in response to the City’s motion to compel production of financial
 records concerning income received by Mr. Hamilton from the Novo Law Firm during 2014-
 2016 (Doc. 68).

         Plaintiff does not object to an order compelling production of these records to the extent
 that they exist. Nor does plaintiff object to producing an affidavit, in the form requested at pages
 1-2 of the City’s motion, to the extent that any responsive records cannot be produced.
 However, plaintiff submits that the July 21, 2017 date requested by the City is not practical and
 that this Court should instead allow at least thirty (30) days for production thereof.

         I have communicated with the Novo Law Firm a number of times regarding these records
 and, after the City’s motion was made, I contacted them again to learn more about the reason for
 the delay. I was informed by Ilya Novofastovsky, Esq., that there is no single “Derrick Hamilton
 file” that contains all the relevant expenses in one place. Instead, the records for expenses on
 each case are kept in the file for that case. It has thus been necessary for the Novo firm to go
 through the files painstakingly and attempt to reconstruct Mr. Hamilton’s expenses during the
 relevant period. He also needs to consult with Mr. Hamilton regarding some of the case records
 to determine which expenses are his.

       I note that the records in question relate to a very peripheral part of the case, namely Mr.
 Hamilton’s post-incarceration earnings. It is not urgent that these records be produced
 immediately. Thus, it is respectfully submitted that 30 days would be a reasonable time for the

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 Novo firm to complete review of its case files and produce such records as it finds.

        The Court’s consideration in this matter is appreciated.

                                                                     Respectfully submitted,

                                                                     /s/ Jonathan I. Edelstein

                                                                     Jonathan I. Edelstein


 cc:    All Counsel (Via ECF)




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